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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------x
-                                    :                Chapter 15
In re:                               :
                                     :                Case No. 18-11094 (SCC)
PERFORADORA ORO NEGRO, S. DE R.L. :                   (Jointly Administered)
DE C.V., et al.,                     :
                                     :
Debtors in a Foreign Proceeding.     :
                                     :
---------------------------------x
-
GONZALO      GIL-WHITE, PERSONALLY   :                Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN       :
REPRESENTATIVE OF PERFORADORA        :
ORO NEGRO, S. DE R.L. DE C.V. AND    :
INTEGRADORA DE SERVICIOS             :
PETROLEROS ORO NEGRO, S.A.P.I. DE    :
C.V.,                                :
                                     :
                         Plaintiff,  :
                                     :
                   -against-         :
                                     :
ALP ERCIL, et al.,                   :
                                     :
                         Defendants. :
---------------------------------x


                                CERTIFICATE OF SERVICE

       I, Scott D. Musoff, hereby certify, under penalty of perjury, that copies of the foregoing

(1) John Fredriksen’s Notice of Motion to Dismiss the Complaint With Prejudice and Proposed

Order, (2) Memorandum of Law in Support of John Fredriksen’s Motion to Dismiss the

Complaint With Prejudice and (3) Declaration of Scott D. Musoff and accompanying Exhibits
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have been duly served on the 11th day of October 2019 and were transmitted via the court’s CM-

ECF system upon all parties.1



Dated: October 14, 2019                                                   /s/ Scott D. Musoff
       New York, New York                                                 Scott D. Musoff




1
 John Fredriksen retains all defenses or objections to the lawsuit, the court’s jurisdiction, and the venue of the
action, and waives only any objections to service.




                                                           2
